                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLEDISTRICT OF PENNSYLVANIA
                                    (Wilkes-Barre)
 IN RE:
 Geddes Sean Schubert Gibbs                                 Case No. 5:24-bk-00457-MJC
        Debtor
                                                            Chapter 13
 Freedom Mortgage Corporation,
         Movant

 vs.
 Geddes Sean Schubert Gibbs
        And                                                 11 U.S.C. §362
 Natalie Gibbs, (NON-FILING CO-DEBTOR)

         Respondent



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         Upon consideration of the MRWLRQ of Freedom Mortgage Corporation (Movant), and

afterNoticeof Defaultand thefiling of aCertification ofDefault,'NW itis:

        ORDERED          AND      DECREED:        that    Movant      shall    be     permitted     to

reasonably communicate with Debtor and Debtor's counsel to the extent necessary to

comply with applicable non-bankruptcy law; it is further

        ORDEREDthat Relieffrom the Automatic6tayofallproceedings, as provided under 11
U.S.C. §362is granted with respectto59 Coach Road, Stroudsburg, PA 18360(hereinafter the

Premises) (as more fully set forth in the legal description attached to the Mortgage of record

grantedagainstthe Premises),as to allow Movant,itssuccessorsorassignees, to proceed with its

rights under theterms of said Mortgage; itis further

        ORDERED that the Trustee is directed to cease making any further distributions to the

Movant; it is further




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                                                     By the Court,



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                                                     Mark J. Conway, Bankruptcy Judge
                                                     Dated: November 4, 2024




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